19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 1 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 2 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 3 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 4 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 5 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 6 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 7 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 8 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 9 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 10 of 11
19-03039-jda   Doc 24   Filed 09/13/19   Entered 09/13/19 15:31:06   Page 11 of 11
